          Case 5:16-cv-00768-M Document 175 Filed 06/05/18 Page 1 of 6



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

SINGER OIL COMPANY, LLC, an                   )
Oklahoma limited liability company,           )
                                              )
                      Plaintiff,              )
                                              )
vs.                                           )       Case No. CIV-16-768-M
                                              )
NEWFIELD EXPLORATION                          )
MID-CONTINENT, INC., a foreign                )
corporation domesticated to do business       )
in Oklahoma; and                              )
HALLIBURTON ENERGY SERVICES,                  )
INC., a foreign corporation domesticated      )
to do business in Oklahoma,                   )
                                              )
                      Defendants.             )

                                             ORDER

       Before the Court is defendant Newfield Exploration Mid-Continent, Inc.’s (“Newfield”)

Motion for Litigation Sanctions against Plaintiff, Singer Oil Company, LLC, filed December 18,

2017. On January 2, 2018, plaintiff filed its response, and on January 9, 2018, Newfield filed its

reply. Based on the parties’ submissions, the Court makes its determination.

       On November 2, 2016, Newfield served its First Set of Discovery Requests in this case on

plaintiff. Interrogatory No. 10 provides:

               Identify all persons whom you believe have knowledge of any and
               all relevant facts pertaining to your claims and defenses in this case,
               and Defendant’s claims and defenses in this case, and describe the
               issues of which they have knowledge.

Defendant Newfield Exploration Mid-Continent Inc.’s First Set of Discovery Requests to Plaintiff,

attached as Exhibit 1 to Defendant, Newfield Exploration Mid-Continent Inc.’s Motion for

Litigation Sanctions Against Plaintiff, Singer Oil Company, LLC, and Brief in Support, at 9-10.

Further, Request for Production No. 4 provides:
             Case 5:16-cv-00768-M Document 175 Filed 06/05/18 Page 2 of 6



                Produce any and all documents that you have in your possession,
                custody, or control, including but not limited to, all communications
                of any kind, relating to, referring to, or in any way referencing
                Newfield, the Smith Well, the Edgar Well, or the subject of this
                lawsuit.

Id. at 11. Additionally, Request for Production No. 5 provides:

                Produce any and all correspondence between you and Newfield, or
                between you and any other person or entity, with respect to
                Newfield, the Smith Well, the Edgar Well or the subject of this
                lawsuit.

Id. at 12.

        On November 15, 2016, plaintiff served its responses to Newfield’s discovery requests.

Plaintiff represented that it had fully and truthfully answered the interrogatories and had produced

or would produce all responsive documents to the requests for production. After receiving

plaintiff’s responses and its document production, counsel for Newfield followed up with

plaintiff’s counsel, who confirmed that all responsive documents had been produced, and plaintiff

did not claim privileged status for any unproduced documents, whether by producing a privilege

log or otherwise. Neither plaintiff’s response to Interrogatory No. 10 nor the documents produced

in response to Requests for Production Nos. 4 and 5 were supplemented during the course of this

case.

        After this case was tried to a jury in November 2017, plaintiff filed its Amended Motion to

Recover Attorney’s Fees. Newfield asserts that upon reviewing the time records attached to

plaintiff’s motion for attorney’s fees, it became aware, for the first time, that throughout the course

of this litigation, plaintiff’s attorney frequently corresponded by e-mail with numerous third parties

regarding not only Newfield generally, but specifically regarding several of the issues that were

disputed in this litigation and the two wells at issue in this case. Newfield further asserts that at

least two of the communications took place before plaintiff served its discovery responses.

                                                  2
          Case 5:16-cv-00768-M Document 175 Filed 06/05/18 Page 3 of 6



       Newfield contends that under the discovery rules, plaintiff was under an obligation to

disclose the communications between its attorney and third parties that had already taken place at

the time of its original discovery responses and to supplement its responses when the additional

communications came into existence. Newfield, therefore, contends that the Court is obligated to

impose a sanction against plaintiff for its violation of the discovery rules pursuant to Federal Rule

of Civil Procedure 26(g)(3) and has the discretion to impose a sanction for the failure to supplement

pursuant to Federal Rule of Civil Procedure 26(e)(1)(A). Newfield specifically requests the Court

to sanction plaintiff by denying plaintiff’s Bill of Costs, Motion to Recover Costs, and Amended

Motion to Recover Attorney’s Fees.

       In its response, plaintiff asserts that it did not violate the Court’s orders, did not violate the

spirit of the Court’s orders, and did not violate the letter or spirit of the discovery code. Further,

in its response, plaintiff explains each time entry referenced in Newfield’s motion. Additionally,

plaintiff asserts that no new documents were produced as a result of its counsel’s communications

with the third parties. Finally, plaintiff contends that the majority of the communications would

fall under the work product doctrine.

       Rule 26(g) provides, in pertinent part:

               (1) Signature Required; Effect of Signature. Every disclosure under
               Rule 26(a)(1) or (a)(3) and every discovery request, response, or
               objection must be signed by at least one attorney of record in the
               attorney’s own name – or by the party personally, if unrepresented
               – and must state the signer’s address, e-mail address, and telephone
               number. By signing, an attorney or party certifies that to the best of
               the person’s knowledge, information, and belief formed after a
               reasonable inquiry:
                       (A) with respect to a disclosure, it is complete and correct
                       as of the time it is made; and
                       (B) with respect to a discovery request, response, or
                       objection, it is:
                               (i) consistent with these rules and warranted by
                               existing law or by a nonfrivolous argument for

                                                   3
          Case 5:16-cv-00768-M Document 175 Filed 06/05/18 Page 4 of 6



                               extending, modifying, or reversing existing law, or
                               for establishing new law;
                               (ii) not interposed for any improper purpose, such as
                               to harass, cause unnecessary delay, or needlessly
                               increase the cost of litigation; and
                               (iii) neither unreasonable nor unduly burdensome or
                               expensive, considering the needs of the case, prior
                               discovery in the case, the amount in controversy, and
                               the importance of the issues at stake in the action.
                               *                        *                      *
               (3) Sanction for Improper Certification. If a certification violates
               this rule without substantial justification, the court, on motion or on
               its own, must impose an appropriate sanction on the signer, the party
               on whose behalf the signer was acting, or both. The sanction may
               include an order to pay the reasonable expenses, including
               attorney’s fees, caused by the violation.

Fed. R. Civ. P. 26(g)(1),(3). Additionally, Rule 26(e)(1)(A) provides:

               A party who has made a disclosure under Rule 26(a) – or who has
               responded to an interrogatory, request for production, or request for
               admission – must supplement or correct its disclosure or response:
                      (A) in a timely manner if the party learns that in some
                      material respect the disclosure or response is incomplete or
                      incorrect, and if the additional or corrective information has
                      not otherwise been made known to the other parties during
                      the discovery process or in writing; . . . .

Fed. R. Civ. P. 26(e)(1)(A). Further, Federal Rule of Civil Procedure 37(c)(1) provides:

               (1) Failure to Disclose or Supplement. If a party fails to provide
               information or identify a witness as required by Rule 26(a) or (e),
               the party is not allowed to use that information or witness to supply
               evidence on a motion, at a hearing, or at a trial, unless the failure
               was substantially justified or is harmless. In addition to or instead
               of this sanction, the court, on motion and after giving an opportunity
               to be heard:
                        (A) may order payment of the reasonable expenses,
                        including attorney’s fees, caused by the failure;
                        (B) may inform the jury of the party’s failure; and
                        (C) may impose other appropriate sanctions, including any
                        of the orders listed in Rule 37(b)(2)(A)(i)-(vi).




                                                 4
           Case 5:16-cv-00768-M Document 175 Filed 06/05/18 Page 5 of 6



Fed. R. Civ. P. 37(c)(1).1

        Having carefully reviewed the parties’ submissions, the Court finds that while plaintiff may

not have intentionally violated the above-referenced discovery rules, plaintiff did violate those

rules by not disclosing the communications its counsel had with the third parties referenced in

plaintiff’s counsel’s time records. Request for Production No. 5 specifically requests any and all

correspondence between plaintiff (including plaintiff’s counsel) and any other person or entity

with respect to Newfield, the Smith Well, the Edgar Well, or the subject of this lawsuit;2 the Court

finds the communications at issue would fall within this request for production. Additionally,

while these communications likely would be protected by the work product doctrine, plaintiff did

not assert such and did not provide Newfield with a privilege log such that Newfield could contest

any claim of privilege. However, the Court finds that based upon plaintiff’s description of the

communications at issue, any lack of production only had a very minimal, if any, impact on this

case.

        Because this Court is obligated to impose a sanction against plaintiff for its violation of the

discovery rules pursuant to Federal Rule of Civil Procedure 26(g)(3), the Court must determine

what an appropriate sanction would be. In light of the amount of attorneys’ fees requested by



1
  Rule 37(b)(2)(A)(i)-(vi) sets forth the following sanctions:
                (i) directing that the matters embraced in the order or other
                designated facts be taken as established for purposes of the action,
                as the prevailing party claims;
                (ii) prohibiting the disobedient party from supporting or opposing
                designated claims or defenses, or from introducing designated
                matters in evidence;
                (iii) striking pleadings in whole or in part;
                (iv) staying further proceedings until the order is obeyed;
                (v) dismissing the action or proceeding in whole or in part;
                (vi) rendering a default judgment against the disobedient party; . . .
2
  While this request for production appears somewhat broad on its face, plaintiff did not object to
it.
                                                  5
          Case 5:16-cv-00768-M Document 175 Filed 06/05/18 Page 6 of 6



plaintiff and the amount of costs taxed, the Court finds Newfield’s proposed sanction is an

extremely harsh sanction not warranted by the circumstances involved. Having reviewed the

parties’ submissions, the Court finds an appropriate sanction would be to require plaintiff to pay

the attorneys’ fees Newfield incurred in filing its motion for sanctions and its reply.

       Accordingly, the Court GRANTS Newfield’s Motion for Litigation Sanctions against

Plaintiff, Singer Oil Company, LLC [docket no. 156] and ORDERS plaintiff to pay the attorneys’

fees Newfield incurred in filing its motion for sanctions and its reply.

       IT IS SO ORDERED this 5th day of June, 2018.




                                                  6
